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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                                  Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

   v.                                                         JURY TRIAL DEMANDED

   JASON KESSLER, et al.,

                                  Defendants.


              MOTION FOR PRO HAC VICE ADMISSION OF MAKIKO HIROMI

         Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

  District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

  of record in the instant proceeding hereby moves the Court for the admission of Makiko Hiromi,

  Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

  thereof states as follows:

         1.      Ms. Hiromi is an associate with the law firm of Paul, Weiss, Rifkind, Wharton &

  Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019. Tel: 212.373.2668, Fax:

  646.304.0375, Email: mhiromi@paulweiss.com

         2.      Ms. Hiromi is qualified and licensed to practice law and is a bar member in good

  standing in the States of New York (Bar ID No. 5376165 – since 2015) and Massachusetts (Bar

  ID No. 686031 – since 2012). Ms. Hiromi is also admitted and in good standing in the United

  States District Courts for the Eastern and Southern Districts of New York (since 2020).
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         3.      Ms. Hiromi agrees to submit and comply with the appropriate rules of procedure as

  required in the case for which she is applying to appear pro hac vice as well as the rules and

  standards of professional conduct applicable to all lawyers admitted to practice before this Court.

         WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

  and permit Makiko Hiromi, Esq. to appear pro hac vice on behalf of Plaintiffs in the above

  captioned case, and to appear at hearings or trials in the absence of an associated member of the

  bar of this Court.



   Dated: July 28, 2021                                Respectfully submitted,

                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
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                                                       rcahill@cooley.com


                                                       Counsel for Plaintiffs




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 28, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

   Elmer Woodard                                    David L. Campbell
   5661 US Hwy 29                                   Justin Saunders Gravatt
   Blairs, VA 24527                                 Duane, Hauck, Davis & Gravatt, P.C.
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                                                    William Edward ReBrook, IV
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   Bryan Jones                                      Counsel for Defendants Jeff Schoep, National
   106 W. South St., Suite 211                      Socialist Movement, and Nationalist Front
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   bryan@bjoneslegal.com

   Counsel for Defendants Michael Hill, Michael
   Tubbs, and League of the South


       I further hereby certify that on July 28, 2021, I also served the foregoing upon the following
  non-ECF pro se defendants, via electronic mail, as follows:

   Richard Spencer                                  Robert “Azzmador” Ray
   richardbspencer@icloud.com                       azzmador@gmail.com
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   Vanguard America                                 Matthew Heimbach
   c/o Dillon Hopper                                matthew.w.heimbach@gmail.com
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   eli.r.kline@gmail.com
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        I further hereby certify that on July 28, 2021, I also served the foregoing upon the following
  non-ECF pro se defendant, via first class mail, as follows:

  Christopher Cantwell
  Christopher Cantwell 00991-509
  USP Marion
  U.S. Penitentiary
  P.O. Box 1000
  Marion, IL 62959




                                                       /s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP

                                                       Counsel for Plaintiffs
